   Case 3:21-cv-00880-X Document 16 Filed 12/17/21                Page 1 of 5 PageID 548



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                        )
In re:                                  )
                                        )                      Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                      Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )
                 Plaintiff,             )
vs.                                     )                      Adv. Proc. No: 21-03005 (SGJ)
                                        )
NEXPOINT ADVISORS, L.P., JAMES DONDERO, )                      Case No: 3:21-cv-00880-C
NANCY DONDERO, AND THE DUGABOY )
INVESTMENT TRUST,                       )
                                        )
                Defendants.             )
                                        )

                                CERTIFICATE OF SERVICE

      I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case of
Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On December 13, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Notice of First Motion to Consolidate Notes Actions [Docket No. 14]

Dated: December 16, 2021
                                                 /s/ Elliser Silla
                                                 Elliser Silla
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
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                          EXHIBIT A
                                                                             Exhibit A
               Case 3:21-cv-00880-X DocumentCivil
                                              16ActionFiled
                                                       Service12/17/21
                                                              List                                          Page 3 of 5 PageID 550
                                                                     Served via Electronic Mail



                  Description                             CreditorName                      CreditorNoticeName                               Email
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                                                                                                                           john.wilson@bondsellis.com;
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                                                Bonds Ellis Eppich Schafer Jones Bryan C. Assink, Clay M. Taylor,          clay.taylor@bondsellis.com;
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                                                                                   Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
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                                                                                                                           ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment Trust and                                       Douglas S. Draper, Leslie A. Collins,   lcollins@hellerdraper.com;
Get Good Trust                                    Heller, Draper & Horn, L.L.C.    Greta M. Brouphy                        gbrouphy@hellerdraper.com
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                                                                                   Penny P. Reid, Paige Holden            pmontgomery@sidley.com;
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Partners, LLC)                                 Stinson LLP                         Aigen                                   michael.aigen@stinson.com
Bankruptcy Judge                               US Bankruptcy Court                 Hon. Stacey G Jernigan                  sgj_settings@txnb.uscourts.gov




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                          EXHIBIT B
                                                                               Exhibit B
                                          Case 3:21-cv-00880-X DocumentCivil16Action
                                                                                   Filed
                                                                                     Service12/17/21
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                                                                                                  Served via First Class Mail



                   Description                             CreditorName                     CreditorNoticeName                     Address1                Address2         Address3       City     State      Zip
                                                                                    John Y. Bonds, III, John T. Wilson,
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                                                                                                                          2200 Ross Avenue, Suite
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Counsel for the Dugaboy Investment Trust and                                        Douglas S. Draper, Leslie A. Collins, 650 Poydras Street, Suite
Get Good Trust                                      Heller, Draper & Horn, L.L.C.   Greta M. Brouphy                      2500                                                         New Orleans LA       70130
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Advisors, L.P., NexPoint Advisors, L.P., Highland
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Highland Capital Management Services, Inc. and
HCRE Partners, LLC (n/k/a NexPoint Real                                             Deborah Deitsch-Perez, Michael P.    3102 Oak Lawn Avenue,
Estate Partners, LLC)                               Stinson LLP                     Aigen                                Suite 777                                                     Dallas       TX      75219
                                                                                                                         Chambers of Judge Stacey
Bankruptcy Judge                                    US Bankruptcy Court             Hon. Stacey G Jernigan               G C Jernigan                 1100 Commerce St      Room 1254 Dallas        TX      75242-1496




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